                         Case 17-00348         Doc 180-1       Filed 11/16/18       Page 1 of 2

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                         at Baltimore
                In re:    Case No.: 17−15088 − MMH            Chapter: 13      Adversary No.: 17−00348

Robert S Siegal
Debtor

Robert S Siegal
Plaintiff(s)

vs.

Lawrence R. Everett
Defendant(s)


                    NOTICE OF REQUIREMENT TO REVIEW TRANSCRIPT
A transcript of a hearing held in this case was requested and has been received by the Court. The transcript is
available for review at the Clerk's Office or copies may be purchased from the transcriber. Each party's attorney is
required to review the opening and closing statements made on behalf of the represented party, any statements made
by the party and the testimony of any witness called by the party. If a party is self−represented, the party needs to
perform this review himself/herself. You have seven (7) days from the date of this notice to file a Notice of Intent to
Request Redaction with the Court, stating your intent to request redaction of sensitive private information before the
transcript is made electronically available to the public, pursuant to the privacy policy of the Judicial Conference of
the United States. The privacy policy is available on the U.S. Court's website, www.uscourts.gov, under Rules &
Policies.

Examples of personal identification information which should be redacted include all but the last four digits of social
security or taxpayer identification numbers, all but the last four digits of account numbers, all but the initials of minor
children, and all but the year of birth.

Pursuant to LBR 9037−1, if you intend to request redaction of the transcript:

1.    You have seven (7) days from the date of this notice to file a Notice of Intent to Request Redaction with the
      Court. A copy of the Notice of Intent to Request Redaction must be served upon the transcriber;

2.    You have twenty−one (21) days from the date of the filing of the transcript to file a Request for Redaction of
      Transcript, listing the entries by page and line where personal data appears that should be redacted. A copy of
      the Request for Redaction of Transcript must be sent to the transcriber;

3.    The deadline for filing the redacted version of the transcript is thirty−one (31) days from the filing date of the
      transcript;

4.    If the redacted transcript is not filed, the transcript in its current form will be made available to the public via
      remote electronic access and at the public terminals in the Clerk's office for viewing and printing at the end of
      the ninety (90) day restricted period; and

5.    If the redacted version of the transcript is filed, the redacted transcript will be made available via remote public
      access and at the public terminals in the Clerk's office for viewing and printing at the end of the ninety (90) day
      restricted period. The unredacted version of the transcript will not be available via remote electronic access or
      at the Clerk's office upon the filing of the redacted transcript; it shall be maintained as a private, restricted
      event. An attorney who purchases the transcript during the ninety (90) day restricted period will be given
      remote electronic access to the transcript and any redacted version filed.

Dated: 11/16/18
                            Case 17-00348   Doc 180-1    Filed 11/16/18    Page 2 of 2
                                                        Mark A. Neal, Clerk of Court
                                                        by Deputy Clerk, Sandy Frank
                                                        410−962−4197
cc:    Joseph Selba
       Marios Monopolis

Clerk49 (rev. 09/28/2007)
